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 6
                                     UNITED STATES BANKRUPTCY COURT
 7

 8                                   NORTHERN DISTRICT OF CALIFORNIA

 9
     In re:                                               Case No. 19-51427
10
                                                          Chapter 13
11   MANZANARES, Efrain
                                                          DECLARATION OF DEBTOR IN
12   MANZANARES, Nora                                     SUPPORT OF MOTION TO EXTEND
                                                          AUTOMATIC STAY
13
              Debtor(s)
14                                                  /

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16
              We, Efrain and Nora Manzanares, say and declare:
17
              1. We are the debtors herein. We make this declaration in support of our Motion to Extend
18
                  Automatic Stay. We know the matters stated herein of our own knowledge, and would be
19

20                competent to testify thereto if called as witnesses.

21            2. We filed our latest Chapter 13 case on July 17, 2019. This motion is brought within 30 days
22
                  of that date.
23
              3. We are the debtors in one prior Chapter 13 case; it was dismissed on April 29, 2019. Our
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                  prior case, case number 18-50925 dated April 26, 2018 was dismissed for failure to make our
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26
                  ongoing mortgage payments and provide evidence that payments had been remitted.

27   //
28   //


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 1          4. Previous circumstances.
 2
            a. We filed our first case on April 26, 2018 in order to prevent foreclosure of our home. We
 3
                were no longer able to afford our monthly payments to our creditors and at the same time
 4
                keep up with our household expenses as I, Nora Manzanares, suffered a stroke and became
 5

 6              unable to work.

 7          b. For the most part, we were able to make our monthly payments to the Trustee as well as our
 8
                mortgage lender. Unfortunately several months into the pendency of our case I, Efrain
 9
                Manzanares had a reduction in work hours. As a result, we fell behind on our mortgage
10
                payments and were now in default under the terms of our Chapter 13 Plan in that we could
11

12
                not submit our Declaration of Direct Payment. I tried to obtain a loan from my retirement

13              account in order to make my mortgage payments and provide evidence that payments had
14              been made in order to file my declaration however obtaining the loan became a lengthy
15
                process and as a result our case was dismissed.
16
            c. We are now re-filing our Chapter 13 bankruptcy case, mainly because we remain unable to
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                repay all of our debt. Moreover, we hope to prevent foreclosure of our home and gain relief

19              from all of our unsecured creditors. We are certain that this case will be successful because

20              we have made various adjustments to our budget in order to keep up with all of our expenses
21
                and be financially stable. Our Chapter 13 Trustee payment now includes our monthly
22
                mortgage payment so that we will not need to worry about providing quarterly declarations.
23
                If need be, I will also look for a second job to make sure I receive sufficient funds to fund our
24

25              Chapter 13 Plan.

26   //
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     //
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 1          5. Subsequent history
 2
                a. It is vitally important for us to continue with this Chapter 13 case. Without this
 3
                    bankruptcy it would be impossible for us to pay all of our unsecured debts and, at the
 4
                    same time, keep up with our household expenses and catch up on our mortgage.
 5

 6              b. I, Efrain Manzanares, am employed by Mann Packing and gross an average of $4,907.40

 7                  per month. I will manage our finances and cut back on our expenses in order to help
 8
                    provide for our Chapter 13 Plan payment. Our income is reliable and we will be able to
 9
                    make our Chapter 13 Trustee payments as well as meet our monthly household expenses.
10

11

12
                    We declare under penalty of perjury under the laws of the United States of America that

13                  the foregoing is true and correct to the best of our knowledge, information and belief, and
14                  this declaration is executed this 3rd day of July, 2019, in Salinas, California.
15

16

17                                                         /s/Efrain Manzanares __________
18
                                                           Debtor

19                                                         /s/Nora Manzanares
                                                           Debtor
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     DECLARATION OF DEBTOR IN SUPPORT OF MOTION
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